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                                   UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12                                                                       *E-FILED - 8/3/06*

13   UNITED STATES OF AMERICA,                    )       No. CR 06-00074 RMW
                                                  )
14          Plaintiff,                            )
                                                  )       STIPULATION AND
15              v.                                )       ORDER EXCLUDING TIME
                                                  )
16   JAMES RUSSELL FITZGERALD, JR,                )
                                                  )
17          Defendant.                            )       SAN JOSE VENUE
                                                  )
18                                                )
19
20      On July 24, 2006, the parties in this case appeared before the Court for a status appearance.

21   Assistant United States Attorney Susan Knight informed the Court that the parties are engaging

22   in plea negotiations, and need additional time to calculate the loss amount in the case. AUSA

23   Knight also informed the Court that both counsel will be unavailable during certain weeks in

24   August. Therefore, the parties jointly requested that the case be continued to September 11, 2006

25   at 9:00 a.m. In addition, the parties requested an exclusion of time under the Speedy Trial Act

26   from July 24, 2006 until September 11, 2006. The defendant, through Assistant Federal Public

27   Defender Lara Vinnard, agreed to the exclusion. The parties agree and stipulate that an exclusion

28   of time is appropriate based on the defendant’s need for continuity of counsel and effective


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1    preparation of counsel.
2    SO STIPULATED:                                KEVIN V. RYAN
                                                   United States Attorney
3
4    DATED:                                        _______/s/__________________________
                                                   SUSAN KNIGHT
5                                                  Assistant United States Attorney
6    DATED:                                        _______/s/__________________________
                                                   LARA S. VINNARD
7                                                  Assistant Federal Public Defender
8
9       Accordingly, for good cause shown, the Court HEREBY ORDERS that time be excluded
10   under the Speedy Trial Act from July 24, 2006 until September 11, 2006. The Court finds, based
11   on the aforementioned reasons, that the ends of justice served by granting the requested
12   continuance outweigh the best interest of the public and the defendant in a speedy trial. The
13   failure to grant the requested continuance would deny defense counsel reasonable time necessary
14   for effective preparation, taking into account the exercise of due diligence, and would result in a
15   miscarriage of justice. The Court therefore concludes that this exclusion of time should be made
16   under 18 U.S.C. §§ 3161(h)(8)(A) and (B)(iv).
17   SO ORDERED.
18
19            8/2/06
     DATED:______________                           /s/ Ronald M. Whyte
                                                   ________________________________________
                                                   RONALD M. WHYTE
20                                                 United States District Judge
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     STIPULATION AND [] ORDER
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